2:20-cv-03843-MHW-KAJ      Doc #: 13 Filed:
SENDER: COMPLETE THIS SECTION
                                            08/10/20
                                       Cr>MPLETE         Page:
                                                 THIS SECTION     1 of 4 PAGEID
                                                              ON DELtVEPY:

• Complete items 1,2, and 3.
• Print your name and address on the reverse
  so that we can return the card to you.
H Attach this card to the back of the maiipiece,
   or on the front If space permits.
l^rtlcle Addressed                                                                                      1? UYes
 VTc,/) k- Lc.                        J                                                                      d


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          Mumber (Transfer from service label)
2. Article Number (Transfer from service label)         5 Collecton Delivery Restricted Delivery g             ConflmS™
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PS Form 3811, July2015 PSN 7530-02-000-9053                                                  Domestic Return Receipt
2:20-cv-03843-MHW-KAJ Doc #: 13 Filed: 08/10/20 Page:  2 of 4 PAGEID
                                                   First-Class Mail
                                                                         Postage & Fees Paid
                                                                         USPS
                                                                         Permit No. G-10


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  United States      • Sender: Please print your name, address, and ZIP+4® in this box*
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8/11/2020     Case: 2:20-cv-03843-MHW-KAJ DocUSPS.com®
                                              #: 13 Filed:
                                                       - USPS08/10/20    Page: 3 of 4 PAGEID #: 61
                                                              Tracking® Results


            ALERT: DUE TO LIMITED TRANSPORTATION AVAILABILITY AS A RESULT OF NATIONWIDE CO…


   USPS Tracking
                                           ®                                                                       FAQs   




                                                Track Another Package                  +




                                                                                                                 Remove   
   Tracking Number: 70182290000026948525

   Your item was picked up at a postal facility at 10:01 am on August 6, 2020 in COLUMBUS, OH
   43216.




                                                                                                                          Feedback
     Delivered
   August 6, 2020 at 10:01 am
   Delivered, Individual Picked Up at Postal Facility
   COLUMBUS, OH 43216

   Get Updates        




                                                                                                                    
       Text & Email Updates


                                                                                                                    
       Tracking History


       August 6, 2020, 10:01 am
       Delivered, Individual Picked Up at Postal Facility
       COLUMBUS, OH 43216
       Your item was picked up at a postal facility at 10:01 am on August 6, 2020 in COLUMBUS, OH 43216.



       August 5, 2020, 5:21 am
       Departed USPS Regional Facility
       COLUMBUS OH DISTRIBUTION CENTER




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70182290000026948525%2C%2C                  1/2
8/11/2020   Case: 2:20-cv-03843-MHW-KAJ DocUSPS.com®
                                            #: 13 Filed:
                                                     - USPS08/10/20    Page: 4 of 4 PAGEID #: 62
                                                            Tracking® Results

       August 4, 2020, 11:09 pm
       Arrived at USPS Regional Facility
       COLUMBUS OH DISTRIBUTION CENTER




                                                                                                                 
       Product Information



                                                             See Less      




                                Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                 FAQs




                                                                                                                     Feedback




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70182290000026948525%2C%2C             2/2
